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14                               UNITED STATES DISTRICT COURT
15                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
16   United States of America,                     )   Case No.: 2:04-cr-0378-MCE
                                                   )
17                 Plaintiff,                      )
                                                   )   ORDER TO CONTINUE STATUS
18          vs.                                    )   CONFERENCE
                                                   )
19   Ramon Ramirez and Osbaldo Ramirez,            )
                                                   )   DATE: March 28, 2006
20                 Defendants.                     )
                                                       TIME: 8:30 a.m.
                                                   )
21                                                 )   JUDGE: Morrison C. England, Jr.
                                                   )
22                                                 )
                                                   )
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24          GOOD CAUSE APPEARING, it is hereby ORDERED that the Status Conference
25   currently scheduled on March 28, 2006 to is hereby continued to April 25, 2006 at 8:30 a.m..




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 1   Time shall be excluded from the Speedy Trial Act calculation from the date of March 28, 2006 to
 2   April 25, 2006, pursuant to 18 U.S.C. §3161 (h)(8)(B)(iv) and Local Code T4 in order to give
 3   Counsel for the Defendants and the Government reasonable time to prepare.
 4   IT IS SO ORDERED.
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     Dated: March 29, 2006
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                                             __________________________________
 7
                                             MORRISON C. ENGLAND, JR
 8
                                             UNITED STATES DISTRICT JUDGE

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